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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

  FERYAL MOHAMMAD AND WAJDAN                                   Case No. 18-cv-23328-KMW
  MOHAMMAD,

                                 Plaintiffs,

  vs.

  AMERICAN EXPRESS BANK, FSB,

                                 Defendant.
                                                     /

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs,

  FERYAL MOHAMMAD and WAJDAN MOHAMMAD, hereby dismiss the above-entitled

  action and all claims asserted in the action against Defendant, AMERICAN EXPRESS BANK,

  FSB, with prejudice. The parties agree to bear their own fees and costs.

                              CONSENT OF COUNSEL FOR DEFENDANT

         Pursuant to Rule 3J.(3) of the CM/ECF Administrative Procedures of the United States

  District Court for the Southern District of Florida, the undersigned counsel for Plaintiffs represents

  to the Court that counsel for Defendant has authorized him to affix her electronic signature to this

  Joint Stipulation of Dismissal with Prejudice.

    Respectfully Submitted,                              Respectfully Submitted,

    /s/ Christopher W. Boss                              s/ Geri E. Howell
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    Attorney for Plaintiffs                           coruna@shb.com

                                                      Counsel for Defendant, American Express
                                                      National Bank, successor-by-merger to
                                                      American Express Bank, FSB


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 31st day of October, 2018, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record or pro se parties either via transmission
  of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing,
  including:

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                                                       /s/ Christopher W. Boss
                                                       Christopher W. Boss (FBN 13183)
